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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-cv-22538-ALTMAN/Reid

  DOMINIK KARNAS, et al.,

          Plaintiffs,

  v.

  MARK CUBAN, et al.,

        Defendants.
  _______________________________/

                                                  ORDER

          The Defendants have filed their Unopposed Renewed Motion for Leave to File Under Seal

  (the “Renewed Motion”) [ECF No. 262]. The “Defendants now seek to file under seal only two

  Exhibits that contain the Defendants’ proprietary business and competitive pricing information”—in

  addition to the unredacted version of their Response in Opposition to the Plaintiffs’ Motion for Class

  Certification (“Defs.’ Class Resp.”) [ECF No. 254]. Renewed Mot. at 2.1 The first Exhibit is the

  “sponsorship agreement between the Mavericks and Voyager,” which the Defendants “seek to file

  under seal in its entirety[.]” Ibid.; see also Ex. 26 to Def.’s Class Resp. (“Sponsorship Agreement”) [ECF

  No. 254-26] (slipsheet filing). The other Exhibit is an “email chain among employees of the

  Mavericks.” Renewed Mot. at 2; see also Ex. 43 to Def.’s Class Resp. [ECF No. 254-43] (“Email

  Exhibit”) (slipsheet filing). The Defendants “seek to redact only the portion of this Exhibit that

  contains competitive information regarding the Defendants’ proprietary business strategy and




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    We’ve already given the Defendants leave to file the unredacted version of the Expert Report of
  Patick Conroy [ECF No. 254-2] under seal. See Order on the Defendants’ First Motion for Leave
  [ECF No. 258] at 5.
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  potential revenue streams,” Renewed Mot. at 2, and have attached their proposed redactions to the

  Renewed Motion, see Redacted Email Exhibit [ECF No. 262-1].

            Upon review of the Renewed Motion, the record, and the governing law, we find good cause

  to allow the Defendants to file these documents under seal. Accordingly, we hereby ORDER and

  ADJUDGE as follows:

        1. The Defendants’ Unopposed Renewed Motion for Leave to File Under Seal [ECF No. 262]

            is GRANTED.

        2. By April 22, 2024, the Defendants shall file UNDER SEAL the unredacted versions of their

            Response in Opposition to the Plaintiffs’ Motion for Class Certification, Exhibit 26 (the

            Sponsorship Agreement), and Exhibit 43 (the Email Exhibit). Those filings shall remain sealed

            until further notice of the Court.

        3. The Defendants shall file on the public docket a partially redacted version of Exhibit 43 and

            a slipsheet of Exhibit 26.

        4. The Plaintiffs shall file their Reply by April 29, 2024.

        DONE AND ORDERED in the Southern District of Florida on April 22, 2024.




                                                               _________________________________
                                                               ROY K. ALTMAN
                                                               UNITED STATES DISTRICT JUDGE


  cc:       counsel of record
